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                    EXHIBIT 3
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                        The Dressie Law Firm, LLC

                                                May 10, 2022

Attn: Domenica Copsey
CorVel Corporation
P.O.Box 44015
Baltimore, MD 21236

Sent Via Email: Domenica Copseyf&corveLcoin & Facsimile: 866-517-1459 & Certified Mail:
7021 0950 0000 0983 1474

            RE:           My Client                 : Elisa Rodriguez
                          Your Insured              : Sika Corporation and Michael Reeves
                          Claim No.                 : 0527-AL-XX-XXXXXXX-001
                          Date of Loss              : 12/09/2021

                                  ***TIME-SENSITIVE***
                           DEMAND PURSUANT TO O.C.G.A § 9-11-67.1
                                   ***HOLT DEMAND***

Dear Ms. Copsey:

         As you are aware, I represent Elisa Rodriguez for injuries sustained in the above-referenced
collision. Please be advised that this is our formal demand and request for settlement pursuant to
O.C.G.A. § 9-11-67.1. It is our understanding that the policy limit available to protect your insured
from a larger judgment is Sl,000,000.00 with Greenwich Insurance Company. This understanding
is predicated on information provided by you, and we are expressly relying on your representation
that the available limits are the amount stated. If you contend the applicable limits are greater or
less than the amount specified herein, please let us know your position within 10 days of receipt
of this letter, as this information could materially alter the amount and other content of this demand.

        Pursuant to O.C.G.A. § 9-11-67.1 and the common law, we are providing to you a
reasonable opportunity to promptly settle substantial claims against your client in exchange for a
Limited Liability Release.1 By timely accepting this offer, you will protect your client from
protracted litigation (not including that which may be necessary to make other insurance claims);
the time and expense of attending depositions, participating in discovery and attending trial; the
emotional cost attendant to reliving the collision and the harm caused to others by your client’s
negligence; financial loss and other damages attributed to credit reports and ratings; litigation costs
and attorneys’ fees; and other losses typically caused by a failure to timely settle claims.




1 Limited Liability Releases are authorized by Georgia law. See O.C.G.A. § 33-24-41.1.




       3500 Lenox Road NE, Suite 1500, Atlanta, GA 30326 • www.dressielaw.com
                   Phone: (770) 756 - 6333 • Fax: (770) 756 - 6680
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              FACTS OF THE COLLISON/LIABILITY OF YOUR INSURED

        On December 9th, 2021. Ms. Elisa Rodriguez was safely traveling north in the 5th lane from
the median on 1-85 in Fulton County. Georgia. At the same time, your insured was traveling north
in the lane to the left of Ms. Rodriguez on 1-85 when he failed to maintain his lane and violently
crashed into Ms. Rodriguez" s vehicle. The forceful impact of this collision caused property damage
to both vehicles, however and much more importantly. Ms. Rodriguez suffered significant bodily
injuries.

       Shortly following the collision. Officer Clint Donaldson with the Georgia State Patrol
responded to the collision scene and prepared a Georgia Unifonn Motor Vehicle Collision Report.
After conducting a thorough investigation and based on the evidence gathered from the scene.
Officer Donaldson found your insured fully liable for causing this crash.
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        MEDICAL EXPENSES AND TREATMENT FOR MS. ELISA RODRIGUEZ

        The impact from this collision was the direct and proximate cause of Ms. Rodriguez’s
bodily injuries. Immediately following the collision. Ms. Rodriguez experienced pain in her neck
radiating down to her left arm and hand, as well as pain in her back. Therefore, Ms. Rodriguez
presented to Dominguez Chiropractic for chiropractic treatment. Due to her continued pain. Ms.
Rodriguez was referred to Advanced Imaging Centers where she underwent MRIs of her cervical
and lumbar spine. Ms. Rodriguez’s cervical spine MRI confirmed that she suffered a disc
herniation at C6-C7 and soft disc material extending beyond the borders of the posterior
osteophytes at C4-C5 and C6-C7. Her lumbar spine MRI revealed disc bulges at L4-L5 and L5-
Sl.

       In an attempt to reach maximum medical improvement. Ms. Rodriguez was referred to
Comprehensive Spine & Pain for further treatment. Following Dr. Puppala’s initial evaluation, he
recommended and performed a Percutaneous Disc Decompression for Ms. Rodriguez’s cervical
spine pain. When the Percutaneous Disc Decompression failed to resolve Ms. Rodriguez’s pain,
she underwent a Cervical Disc FX. Following the procedure, Ms. Rodriguez did see some
improvement, however, she continues to have occasional pain flare-ups. Dr. Puppala therefore
recommended that she continue with conservative care and to follow up on an as needed basis.
Copies of Ms. Rodriguez’s medical records and medical bills are attached hereto for your review.

                                                  DAMAGES

       Due to your insured’s negligence, my client has incurred the following medical expenses,
including, but not limited to:

             1.   Dominguez Chiropractic                $     TBD;
             2.   Advanced Imaging Centers              $ 4,450.00
             3.   Comprehensive Spine & Pain            $229,361.50
             4.   Lotus Diagnostics                     $ 67,050.00
             5.   Perimeter Anesthesia                  S 6.650.00

             Total Medicals to Date:                    $313.646.50

                                   PAIN AND SUFFERING OF MY CLIENT

        My client has clearly experienced extreme pain and suffering as a result of the injuries
she sustained in this incident. "Under Georgia law, pain and suffering in the past, present, and
future are measured by the enlightened conscience of a fair and impartial jury. There exists no
rule or yardstick against which damages for pain and suffering are to be measured ...” Smith v.
Crump, 223 Ga. App. 52, 57 (1996). See also Cullen v. Timm, 184 Ga. App. 80 (1987); Coker v.
Casey, 178 Ga. App. 682,(1986); Sears & Roebuck Co. v. Chandler, 152 Ga. App. 427 (1979).
A plaintiff may recover for pain and suffering including past, present and future mental and
physical pain and suffering, disfigurement and deformity, impairment of ability to work and
labor, anxiety and worry proximately attributable to an injury, and mental distress caused by

■ Bill and records will be supplemented upon receipt.
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impairment of enjoyment of life. See Aretz v. U.S., 456 F. Supp. 397 (N.D. Ga. 1978), aff’d, 604
F.2d 417 (5th Cir. 1979).

        Ms. Rodriguez is an active and outgoing woman; however, due to the nature of the injuries
suffered in this collision, Ms. Rodriguez has been unable to participate in activities that she enjoys
and has been unable to perfonn simple tasks around the house. For example, Ms. Rodriguez is an
active parent who enjoys outdoor activities with her children. Due to the persistent neck and back
pain, however, Ms. Rodriguez has been unable to attend to the needs of her family and has been
unable spend quality time with them outdoors. In addition, she experiences a lot of stress and
anxiety when driving, especially if there is a semi-truck next to her. Ms. Rodriguez has suffered
emotionally with the realization that she may never reach her pre-collision condition and may
never feel comfortable driving again.

                                   QUALITY OF MY CLIENT

       An extremely important factor to consider in evaluating a personal injury case is the quality
of the clients. My client will certainly present well to a jury. Ms. Rodriguez is an articulate,
charismatic, and hardworking woman. Suffice to say, these qualities will make an excellent
impression upon a judge and a jury should a lawsuit become necessary. Your client on the other
hand, negligently paid insufficient attention to his surroundings and recklessly struck Ms.
Rodriguez’s vehicle causing several excruciating injuries to a law-abiding citizen.

       OFFER OF COMPROMISE AND SETTLEMENT PRIOR TO FILING SUIT

        Liability on behalf of your client is clear, obvious, and present. Ms. Rodriguez was injured
as the direct result of your client’s negligence and recklessness as described above. Ms. Rodriguez
continues to experience pain and loss of life’s enjoyments as a result of the injuries she suffered in
this collision, and she will no longer be able to look for payment of her medical bills following
resolution of this matter.

      In consideration of the special and general damages as outlined above, demand is herein
made for full and final settlement in the amount of §1,000,000.00, your insured’s policy limit, in
exchange for a Limited Liability Release.

                           MATERIAL TERMS OF SETTLEMENT

        Pursuant to O.C.G.A. § 9-11-67.1 and the common law, we are providing this reasonable
opportunity to settle claims against your client under the terms below as well as those terms set
forth in a Limited Liability Release. Please note that some of the material terms are conditions of
acceptance and not conditions of performance. If you fail to timely perform a condition of
acceptance, there will be no settlement agreement and we will be forced to file a lawsuit against
your insured. Time is of the essence for each and every condition.

        1.     You have 3 0 days from your receipt of this offer to provide to us a written statement
               pursuant to O.C.G.A. § 9-11-67.1(b) as to whether you agree to all the terms of this
               offer.
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       2.      The amount of monetary payment demanded is $1,000,000.00. If you choose to
               make the payment in a method other than cash, the payment must be made payable
               to ELISA RODRIGUEZ AND THE DRESSIE LAW FIRM, LLC, 3500
               LENOX ROAD N.E., SUITE 1500, ATLANTA, GA 30326. The monetary
               payment must be received by the undersigned no later than twelve (12) days after
               you provide a written statement of agreement. Our timely receipt of payment is
               an essential element of acceptance. If you do not ensure that we receive timely
               payment, within the deadline, there will be no settlement, and we will be forced to
               file a lawsuit against your insured.

       3.      The party or parties to be released if this offer is accepted will be those released in
               accordance with the terms of a Limited Liability Release, including but not
               limited to Sika Corporation and Michael Reeves.

       4.      The type of release offered is a Limited Liability Release.

       5.      The claims to be released are those released pursuant to a Limited Liability
               Release.

        If you do not timely fulfill all conditions of acceptance, this offer will be deemed rejected,
and we will file a lawsuit against your client to recover the total amount of losses caused by your
client instead of the limited amount afforded by your coverage and other coverage that may be
available.

       This firm’s Tax Identification Number is: 82-240 8152. We will be happy to provide a
signed W-9 upon your request, but your request does not extend any time limits under this offer.

                       DEMAND PURSUANT TO O.C.G.A. § 51-12-14

        This demand is additionally made pursuant to O.C.G.A. § 51-12-14. However, in order to
harmonize the terms of O.C.G.A. § 51-12-14 with the terms of O.C.G.A. § 9-11-67.1. the time
period for you to pay the amount demanded shall be the longer period contained in O.C.G.A. § 9-
11-67.1 as set forth in this demand. If you fail to accept this demand and timely pay the amount
demanded, this demand is automatically withdrawn, and we will seek interest against your insured
on the amount demand.

       I look forward to your timely response.
                                                       Sincerely,

                                                      THE DRESSIE LAW FIRM. LLC

                                                      Zs/ Nathalie Dressie
                                                      Nathalie Dressie. Esq.
                                                      nathaheCa dressielaw.com
